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                                                                                                                              FILED
    ~AO 2450 (CASD) (Rev. 12/11) Judgment In a Criminal Case for Revocations

                Sheet I
                                                                                                                              APR 2 8 2014
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                                                                                                                  fF                                        D~:;L ":""~
                                            UNITED STATES DISTRICT COUR
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                       V.                                        (For Revocation of Probation or Supervised Release)
                    ANGELO DANTE DAVIS (1)                                       (For Offenses Committed On or After November 1, 1987)


                                                                                 Case Number: IOCR4696-W

                                                                                 Kathryn A Thickstun
                                                                                 Defendant's Attorney
    REGISTRATION No. 22835298
o   THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No . _O_N_E_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o   was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):

    ADegation Number                        Nature of Violation
                             Unlawful use of controlled substance (nv3)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                _2_ of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and UUlted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                 APRIL 28, 2014
                                                                                 Date of Imposition of Sentence




                                                                                 HON. THOMAS J.
                                                                                 UNITED STATES




                                                                                                                                       lOCR4696-W
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AO 245D (CASD) (Rev. 12111) Judgment in a Criminal Case for Rcvocatioos
           Sheet 2 - Imprisonment

                                                                                                   Judgment- Page _   ....2_ of       2
 DEFENDANT: ANGELO DANTE DAVIS (I)
 CASE NUMBER: IOCR4696-W
                                                                 IMPRISONMENT
         The defendant is bereby commined to the custody oftbe United States Bureau of Prisons to be imprisoned for a term of
          TEN (10) MONTHS




    o Tbe court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody ofthe United States Marshal.
     o The defendant shall surrender the United States Marshal for this district:
                                                to
            Oat                                       Oa.m.          Op.m.   on _ _ _ _ _ _ _ _ _ _ __
                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before -----------------------------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                          RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                       to

 at ______________________ , with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL


                                                                             By _______~~~~~~~~~~---------
                                                                                              DEPUTY UNlTED STATES MARSHAL




                                                                                                                                  lOCR4696-W
